Case 2:05-cr-20234-SH|\/| Document 7 Filed 07/26/05 Page 1 of 2 Page|D 4

UNITED sTATEs DISTRICT coURT F"f’~"f@ "‘ Fzsit;._._ o.e.
wEsTERN DIsTRIcT oF TENNESSEE
Western Division 05 JUL 25 FH li: 2 l

UNITED STATES OF AMERICA

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-vs- Case No. 2:(igé)r(2023£11-:HBHFS

WILLIE ELLIS

 

ORDER APPOINTING COUNSEL PURSUANT TO
TI~IE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment Of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

° The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
~ All purposes including trial and appeal

1‘4\
DONE and ORDERED in 167 North Main, Memphis, this O?é day of July, 2005.

' [. //'

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
lntake '

W[LLIE ELLIS

Th|s document entered on the docket sheetl §
with Ftu|e 55 and/or 32(b) FHCrF' on `

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20234 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

